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                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF KENTUCKY
                                AT LOUISVILLE
 ______________________________________________________________________________

 PENELOPE C. JONES,                                   CASE NO. 3:15-cv-00248-JHM
           Plaintiff,
                                                      ELECTRONICALLY FILED
        v.
                                                      Judge Joseph H. McKinley, Jr.
 PHOENIX MANAGEMENT
 SYSTEMS, INC. d/b/a PHOENIX
 MANAGEMENT SYSTEMS;
 EQUIFAX INFORMATION
 SERVICES, LLC; TRANS
 UNION, LLC; and EXPERIAN
 INFORMATION SOLUTIONS, INC.;
             Defendants.
 ______________________________________________________________________________

                 ORDER OF DISMISSAL WITH PREJUDICE AS TO
                     DEFENDANT TRANS UNION, LLC ONLY
 ______________________________________________________________________________

        Plaintiff Penelope C. Jones by counsel, and Defendant Trans Union, LLC, by counsel,

 having filed their Stipulation Of Dismissal With Prejudice Between Plaintiff And Defendant

 Trans Union, LLC Only, AND THE COURT, having been duly advised, NOW FINDS that the

 same should be granted.

        IT IS, THEREFORE, ORDERED that all claims of Plaintiff Penelope C. Jones against

 Defendant Trans Union, LLC are dismissed, with prejudice. Plaintiff Penelope C. Jones and

 Defendant Trans Union, LLC shall each bear their own costs and attorneys’ fees.




                                                                               September 4, 2015




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